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                           FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT

         DAVID WIT; NATASHA WIT;                    Nos. 20-17363
         BRIAN MUIR; BRANDT PFEIFER,                     21-15193
         on behalf of the Estate of his deceased
         wife, Lauralee Pfeifer; LORI              D.C. No. 3:14-cv-
         FLANZRAICH, on behalf of her                 02346-JCS
         daughter Casey Flanzraich; CECILIA
         HOLDNAK, on behalf of herself, her
         daughter Emily Holdnak; GARY                 OPINION
         ALEXANDER, on his own behalf and
         on behalf of his beneficiary son,
         Jordan Alexander; CORINNA
         KLEIN; DAVID HAFFNER, on
         behalf of themselves and all others
         similarly situated,

                        Plaintiffs-Appellees,

         LINDA TILLITT; MARY JONES,

                        Intervenor-Plaintiffs-
                        Appellees,

           v.

         UNITED BEHAVIORAL HEALTH,

                        Defendant-Appellant.
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         GARY ALEXANDER, on his own                   Nos. 20-17364
         behalf and on behalf of his beneficiary           21-15194
         son, Jordan Alexander; CORINNA
         KLEIN; DAVID HAFFNER, on                    D.C. No. 3:14-cv-
         behalf of themselves and all others            05337-JCS
         similarly situated,

                         Plaintiffs-Appellees,

         MICHAEL DRISCOLL,

                         Intervenor-Plaintiff-
                         Appellee,

             v.

         UNITED BEHAVIORAL HEALTH,

                         Defendant-Appellant.

                  Appeal from the United States District Court
                     for the Northern District of California
                  Joseph C. Spero, Magistrate Judge, Presiding

                    Argued and Submitted August 11, 2021
                          San Francisco, California

                            Filed January 26, 2023
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             Before: Morgan Christen and Danielle J. Forrest, Circuit
                 Judges, and Michael M. Anello, * District Judge.

                             Opinion by Judge Anello


                                   SUMMARY **


                  Employee Retirement Income Security Act

             The panel affirmed in part and reversed in part the
         district court’s judgment finding United Behavioral Health
         (“UBH”) liable, and awarding declaratory and injunctive
         relief, to classes of plaintiffs who were beneficiaries of
         ERISA-governed health benefit plans for which UBH was
         the claims administrator.
             Plaintiffs submitted health plan coverage requests, which
         UBH denied. Plaintiffs brought claims under ERISA for
         breach of fiduciary duty and improper denial of benefits,
         based on a theory that UBH improperly developed and relied
         on internal guidelines that were inconsistent with the terms
         of the class members’ plans and with state-mandated
         criteria. The parties stipulated to a sample class, from which
         they submitted a sample of health insurance plans. Plaintiffs
         alleged that the plans provided coverage for treatment
         consistent with generally accepted standards of case


         *
          The Honorable Michael M. Anello, United States District Judge for the
         Southern District of California, sitting by designation.
         **
            This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
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         (“GASC”) or were governed by state laws specifying certain
         criteria for making coverage or medical necessity
         determinations. Plaintiffs alleged that UBH’s Level of Care
         Guidelines and Coverage Determination Guidelines for
         making these determinations were more restrictive than
         GASC and were also more restrictive than state-mandated
         criteria.
             The district court certified three classes, conducted a
         bench trial, and entered judgment in plaintiffs’ favor,
         concluding that UBH breached its fiduciary duties and
         wrongfully denied benefits because UBH’s Guidelines
         impermissibly deviated from GASC and state-mandated
         criteria. The district court issued declaratory and injunctive
         relief, directed the implementation of court-determined
         claims processing guidelines, ordered “reprocessing” of all
         class members’ claims in accordance with the new
         guidelines, and appointed a special master to oversee
         compliance for ten years.
             The panel held that plaintiffs had Article III standing to
         bring their claims. The panel held that plaintiffs sufficiently
         alleged a concrete injury as to their fiduciary duty claim
         because UBH’s alleged fiduciary violation presented a
         material risk of harm to plaintiffs’ interest in their
         contractual benefits. Plaintiffs also alleged a concrete injury
         as to the denied of benefits claim because they alleged a
         harm—the arbitrary and capricious adjudication of benefits
         claims—that presented a material risk to their interest in fair
         adjudication of their entitlement to their contractual
         benefits. Further, plaintiffs alleged a particularized injury as
         to both claims because the Guidelines materially affected
         each plaintiff. Finally, plaintiffs’ alleged injuries were
         “fairly traceable” to UBH’s conduct.
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             The panel reversed the part of the district court’s class
         certification order certifying plaintiffs’ denial of benefits
         claims as class actions. The panel held that plaintiffs’
         “reprocessing” theory, seeking reprocessing of their benefits
         claims under proper guidelines, was a use of the class action
         procedure to expand or modify substantive rights provided
         by ERISA, in violation of Fed. R. Civ. P. 23 and the Rules
         Enabling Act, 28 U.S.C. § 2072(b).
             UBH did not appeal the portion of the district court’s
         judgment finding that the UBH Guidelines were
         impermissibly inconsistent with state-mandated criteria, and
         that portion of the district court’s decision therefore
         remained intact.
             UBH did argue on appeal that the district court erred in
         concluding that the Guidelines improperly deviated from
         GASC and that the district court did not apply an appropriate
         level of deference to UBH’s interpretation of the ERISA
         plans. The panel concluded that the district court did not
         clearly err in finding that UBH had a structural conflict of
         interest in serving a dual role as plan administrator and
         insurer, and that UBH also had a financial conflict because
         it was incentivized to keep benefit expenses down. The
         panel held, however, that these findings did not excuse the
         district court from reviewing UBH’s interpretation of the
         plans for an abuse of discretion. The panel held that, even
         assuming the conflicts of interest found by the district court
         warranted heavy skepticism against UBH’s interpretation,
         UBH’s interpretation did not conflict with the plain language
         of the plans. Accordingly, the district court erred by
         substituting its interpretation of the plans for UBH’s
         interpretation. The panel reversed the district court’s
         judgment that UBH wrongfully denied benefits to the named
         plaintiffs based upon the court’s finding that the Guidelines
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         impermissibly deviated from GASC. The panel held that the
         district court also erred in its judgment on plaintiffs’ breach
         of duty claim, which also relied heavily on the district
         court’s conclusion that the Guidelines impermissibly
         deviated from GASC.
             Finally, the panel held that the district court erred when
         it excused unnamed class members from demonstrating
         compliance with the plans’ administrative exhaustion
         requirement. The panel held that when an ERISA plan does
         not merely provide for administrative review but, as here,
         explicitly mandates exhaustion of such procedures before
         bringing suit in federal court and, importantly, provides no
         exceptions, application of judicially created exhaustion
         exceptions would conflict with the written terms of the
         plan. Accordingly, to the extent that any absent class
         members’ plans required exhaustion, the district court erred
         in excusing the failure to satisfy such a contractual
         requirement.
             In sum, the panel held that plaintiffs had Article III
         standing to bring their breach of fiduciary duty and improper
         denial of benefits claims pursuant to 29 U.S.C.
         §§ 112(a)(1)(B) and (a)(3). And the district court did not err
         in certifying three classes to pursue the fiduciary duty
         claim. However, because plaintiffs expressly declined to
         make any showing, or seek a determination of, their
         entitlement to benefits, permitting plaintiffs to proceed with
         their denial of benefits claim under the guise of a
         “reprocessing” remedy on a class-wide basis violated the
         Rules Enabling Act. Accordingly, the panel affirmed in part
         and reversed in part the district court’s class certification
         order. On the merits, the panel held that the district court
         erred in excusing absent class members’ failure to exhaust
         administrative remedies as required under the plans. The
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         district court also erred in determining that the Guidelines
         improperly deviated from GASC based on its interpretation
         that the plans mandated coverage that was coextensive with
         GASC. Therefore, the panel reversed the judgment on
         plaintiffs’ denial of benefits claim. To the extent the
         judgment on plaintiffs’ breach of fiduciary duty claim was
         based on the district court’s erroneous interpretation of the
         plans, it was also reversed. The panel affirmed in part,
         reversed in part, and remanded for further proceedings.


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                                    OPINION

          ANELLO, District Judge:

               United Behavioral Health (“UBH”) appeals from the
          district court’s judgment finding it liable to classes of
          Employee Retirement Income Security Act of 1974, 29
          U.S.C. § 1001 et seq. (“ERISA”) plaintiffs under 29 U.S.C.
          §§ 1132(a)(1)(B) and (a)(3), as well as several pre- and post-
          trial orders, including class certification, summary
          judgment, and a remedies order. UBH contends on appeal
          that Plaintiffs lack Article III standing, and that the district
          court erred at class certification and trial in several respects.
          We have jurisdiction pursuant to 28 U.S.C. § 1291, and we
          reverse in part.
                                          I
              UBH is one of the nation’s largest managed healthcare
          organizations. It administers insurance benefits for mental
          health conditions and substance use disorders for various
          commercial health benefit plans. In this role, UBH
          processes coverage requests made by plan members to
          determine whether the treatment sought is covered under the
          respective plans. UBH retains discretion to make these
          coverage determinations “for specific treatment for specific
          members based on the coverage terms of the member’s
          plan.”
              Individually named plaintiffs David and Natasha Wit,
          Brian Muir, Brandt Pfeifer, Lori Flanzraich, Cecilia
          Holdnak, Gary Alexander, Corinna Klein, David Haffner,
          Linda Tillitt, and Michael Driscoll (collectively,
          “Plaintiffs”) are all beneficiaries of ERISA-governed health
          benefit plans for which UBH was the claims administrator.
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          Plaintiffs all submitted coverage requests, which UBH
          denied.
              Plaintiffs initiated this action on behalf of three putative
          classes, asserting, at issue here, two claims against UBH.
          The first is for breach of fiduciary duty pursuant to 29 U.S.C.
          § 1132(a)(1)(B) and “to the extent the injunctive relief
          Plaintiffs seek is unavailable under that section, they assert
          the claim under 29 U.S.C. § 1132(a)(3)(A).” Second,
          Plaintiffs brought an improper denial of benefits claim under
          29 U.S.C. §§ 1132(a)(1)(B) and (a)(3)(B). Both of
          Plaintiffs’ claims hinge on a theory that UBH improperly
          developed and relied on internal guidelines that were
          inconsistent with the terms of the class members’ plans and
          with state-mandated criteria. 1
              Among the individually named Plaintiffs, there are ten
          different ERISA plans. Among the class members, there
          may be as many as 3,000 different plans. The Parties
          stipulated to a sample class of 106 members, from which
          they submitted a sample of health insurance plans (the
          “Plans”). Plaintiffs alleged that the Plans provided coverage
          for treatment consistent with generally accepted standards of
          care (“GASC”) or were governed by state laws specifying
          certain criteria for making coverage or medical necessity
          determinations. Some of the plans administered by UBH
          were fully insured plans where UBH served a dual role as a
          plan administrator and insurer, both authorized to determine
          the benefits owed and responsible for paying such benefits.
              The Plans provide that a precondition for coverage is that
          treatment be consistent with GASC. The Plans contain

          1
           Plaintiffs also alleged that UBH developed the Guidelines to benefit its
          self-serving financial interests in breach of its fiduciary duties.
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          additional conditions and exclusions, and Plaintiffs did “not
          dispute that a service that is consistent with [GASC] may,
          nonetheless, be excluded from coverage under a particular
          class member’s plan.” For example, some plans may
          exclude “[s]ervices that extend beyond the period necessary
          for evaluation, diagnosis, the application of evidence-based
          treatments, or crisis intervention to be effective.” Some
          plans also may require that the service be the “least costly
          alternative.” The Plans grant UBH discretion to interpret
          these various terms and determine whether a requested
          service is covered. To assist with the process of making
          these determinations, UBH developed internal guidelines
          used by UBH’s clinicians in making coverage
          determinations. These guidelines include the challenged
          Level of Care Guidelines and Coverage Determination
          Guidelines (“Guidelines”). The Level of Care Guidelines
          are used for plans that limit coverage to medically necessary
          services. The Coverage Determination Guidelines are used
          for plans not containing a medical necessity requirement.
              Plaintiffs alleged that these Guidelines were more
          restrictive than GASC and were also more restrictive than
          state-mandated criteria for making medical-necessity or
          coverage determinations. Plaintiffs further alleged that UBH
          breached its fiduciary duties to act solely in the interests of
          the participants and beneficiaries to develop coverage
          criteria consistent with GASC. UBH also allegedly
          breached its fiduciary duties by developing guidelines
          inconsistent with criteria explicitly mandated by state laws.
          Plaintiffs also contended UBH breached its duties by
          promulgating self-serving, cost-cutting guidelines that are
          more restrictive than the Plans. As to their denial of benefits
          claim, Plaintiffs argued that UBH violated ERISA by
          improperly denying Plaintiffs benefits based on its
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          Guidelines, which are more restrictive than the Plans or
          criteria mandated by state laws.
              Plaintiffs sought certification of three proposed classes
          as to both claims: (1) the Wit Guideline Class; (2) the Wit
          State Mandate Class; and (3) the Alexander Guideline Class.
          The Wit Guideline Class was defined as:

                 Any member of a health benefit plan
                 governed by ERISA whose request for
                 coverage of residential treatment services for
                 a mental illness or substance use disorder was
                 denied by UBH, in whole or in part, on or
                 after May 22, 2011, based upon UBH’s Level
                 of Care Guidelines or UBH’s Coverage
                 Determination Guidelines.
                 The Wit Guideline Class excludes members
                 of the Wit State Mandate Class, as defined
                 below.

          The Wit State Mandate Class was defined as:
                 Any member of a fully-insured health benefit
                 plan governed by both ERISA and the state
                 law of Connecticut, Illinois, Rhode Island or
                 Texas, whose request for coverage of
                 residential treatment services for a substance
                 use disorder was denied by UBH, in whole or
                 in part, [within the Class period], based upon
                 UBH’s Level of Care Guidelines or UBH’s
                 Coverage Determination Guidelines and not
                 upon the level-of-care criteria mandated by
                 the applicable state law. . . .
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          The Alexander Guideline Class was defined as:

                 Any member of a health benefit plan
                 governed by ERISA whose request for
                 coverage of outpatient or intensive outpatient
                 services for a mental illness or substance use
                 disorder was denied by UBH, in whole or in
                 part, on or after May 22, 2011, based upon
                 UBH’s Level of Care Guidelines or UBH’s
                 Coverage Determination Guidelines.
                 The Alexander Guideline Class excludes any
                 member of a fully insured plan governed by
                 both ERISA and the state law of Connecticut,
                 Illinois, Rhode Island or Texas, whose
                 request for coverage of intensive outpatient
                 treatment or outpatient treatment related to a
                 substance use disorder.

              The classes differ in that the Wit State Mandate Class
          includes members whose denial of benefits was based on
          UBH’s Guidelines and not on state-mandated level-of-care
          criteria. The Guideline classes include members whose
          denials were based on the Guidelines and not on the terms of
          the Plans. The Wit Guideline Class included members who
          requested coverage of residential treatment services,
          whereas the Alexander Guideline Class included members
          who requested coverage of outpatient or intensive outpatient
          services.
             For their breach of fiduciary duties claim, Plaintiffs
          sought injunctive and declaratory relief. As to their denial
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          of benefits claim, Plaintiffs sought reprocessing of their
          claims 2 and argued:

                  Individual circumstances are . . . irrelevant to
                  [this claim]. Plaintiffs are not asking this
                  Court to determine whether Class members
                  were owed benefits or whether UBH should
                  be ordered to cause its plans to pay such
                  benefits. Rather, Plaintiffs seek a
                  reprocessing remedy, which stems directly
                  from their allegation that UBH used an
                  arbitrary process, premised on fatally flawed
                  Guidelines, to deny their requests for
                  coverage. For that reason, Plaintiffs need not
                  prove at trial that UBH reached the wrong
                  outcome in every single one of its coverage
                  determinations.

              Plaintiffs also asserted at the class certification hearing
          that their denial of benefits claim was “a process claim.”
          Plaintiffs stipulated that “if the case is certified as a class
          case” then “additional theories” requiring “individualized
          inquiries as to why UBH’s denials of the named Plaintiffs’
          claims for benefits were wrongful” would “not be part of this
          case.”




          2
           Plaintiffs relatedly sought a declaration that UBH’s denial of benefits
          was improper and an order for UBH to apply the new guidelines in
          processing future claims.
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              On September 19, 2016, the district court granted
          Plaintiffs’ motion to certify these classes. 3 In its order, the
          district court stated:

                   Of particular significance is the fact that
                   Plaintiffs do not ask the Court to make
                   determinations as to whether class members
                   were actually entitled to benefits (which
                   would require the Court to consider a
                   multitude of individualized circumstances
                   relating to the medical necessity for coverage
                   and the specific terms of the member’s plan).

              Beginning October 16, 2017, the district court held a ten-
          day bench trial. The district court, in its post-trial findings
          of fact and conclusions of law, relied upon Plaintiffs’
          representations that their denial of benefits claim was a
          “process claim” only, stating “Plaintiffs stipulated at the
          class certification stage of the case that they do not ask the
          Court to make determinations as to whether individual class
          members were actually entitled to benefits . . . . Rather, they
          assert only facial challenges to the Guidelines.”
              The district court entered judgment in Plaintiffs’ favor,
          concluding that UBH breached its fiduciary duties and
          wrongfully denied benefits because the Guidelines
          impermissibly deviated from GASC and state-mandated
          criteria. The district court also found that financial


          3
            The district court later issued an order partially decertifying the class to
          exclude class members who successfully appealed their coverage
          denials, members who were initially improperly included because of a
          “flaw in the method used to identify class members,” and to modify the
          Illinois State Mandate Class period.
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          incentives infected UBH’s Guideline development process,
          particularly where the Guidelines “were riddled with
          requirements that provided for narrower coverage than is
          consistent with” GASC. Based on these findings, the district
          court concluded that UBH breached its fiduciary duty to
          comply with Plan terms and breached its duties of loyalty
          and care “by adopting Guidelines that are unreasonable and
          do not reflect” GASC. It also held that UBH improperly
          denied Plaintiffs benefits by relying on its restrictive
          Guidelines that were inconsistent with the Plan terms and
          state law.
               The parties had stipulated, and the district court found,
          that the Plans gave UBH discretionary authority to create
          tools, such as the Guidelines, to facilitate interpretation and
          administration of the Plans. But the district court viewed
          UBH’s interpretation with “significant skepticism” because
          it found that UBH had a financial conflict of interest and a
          structural conflict of interest as a dual administrator and
          insurer for some plans. Ultimately, the district court held
          that UBH’s interpretation embodied in the Guidelines was
          unreasonable and an abuse of discretion.
              In its extensive Findings of Fact and Conclusions of
          Law, the district court excused any unnamed class members
          for failing to exhaust their administrative remedies under the
          Plans despite acknowledging evidence that “some class
          members who did not exhaust available administrative
          remedies were required under their Plans to exhaust those
          remedies before they could bring a legal action against
          UBH.” The district court cited to one of the sample plans,
          which states: “You cannot bring any legal action against us
          to recover reimbursement until you have completed all the
          steps [described in the plan].” The district court further
          found that exhaustion would have been futile.
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              The district court issued declaratory and injunctive relief,
          directed the implementation of court-determined claims
          processing guidelines, ordered “reprocessing” of all class
          members’ claims in accordance with the new guidelines, and
          appointed a special master to oversee compliance for ten
          years.
                                         II
              ERISA is a federal statute designed to regulate
          “employee benefit plan[s].” 29 U.S.C. § 1003(a). Congress
          enacted ERISA “to promote the interests of employees and
          their beneficiaries in employee benefit plans,” Shaw v. Delta
          Air Lines, Inc., 463 U.S. 85, 90 (1983), “by setting out
          substantive regulatory requirements for employee benefit
          plans and to ‘provid[e] for appropriate remedies, sanctions,
          and ready access to the Federal courts,’” Aetna Health Inc.
          v. Davila, 542 U.S. 200, 208 (2004) (alteration in original)
          (quoting 29 U.S.C. § 1001(b)). “The purpose of ERISA is
          to provide a uniform regulatory regime over employee
          benefit plans.” Id.
              ERISA does not “require[] employers to establish
          employee benefits plans.” Lockheed Corp. v. Spink, 517 U.S.
          882, 887 (1996). “Nor does ERISA mandate what kind of
          benefits employers must provide if they choose to have such
          a plan.” Id. (first citing Shaw, 463 U.S. at 91; and then citing
          Alessi v. Raybestos-Manhattan, Inc., 451 U.S. 504, 511
          (1981)). Rather, ERISA “ensure[s] that employees will not
          be left empty-handed once employers have guaranteed them
          certain benefits.” Id. The Supreme Court has “recognized
          that ERISA represents a ‘careful balancing between ensuring
          fair and prompt enforcement of rights under a plan and the
          encouragement of the creation of such plans.’” Conkright v.
          Frommert, 559 U.S. 506, 517 (2010) (quoting Aetna Health,
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          542 U.S. at 215). “Congress sought ‘to create a system that
          is [not] so complex that administrative costs, or litigation
          expenses, unduly discourage employers from offering
          [ERISA] plans in the first place.’” Id. (alterations in
          original) (quoting Varity Corp. v. Howe, 516 U.S. 489, 497
          (1996)). “ERISA ‘induc[es] employers to offer benefits by
          assuring a predictable set of liabilities, under uniform
          standards of primary conduct and a uniform regime of
          ultimate remedial orders and awards when a violation has
          occurred.’” Id. (alteration in original) (quoting Rush
          Prudential HMO, Inc. v. Moran, 536 U.S. 355, 379 (2002),
          overruled in part on other grounds by Ky. Ass’n of Health
          Plans v. Miller, 538 U.S. 329 (2003)).
             Accordingly, 29 U.S.C. § 1132(a) “set[s] forth a
          comprehensive civil enforcement scheme.” Aetna Health,
          542 U.S. at 208 (2004) (quoting Pilot Life Ins. Co. v.
          Dedeaux, 481 U.S. 41, 54 (1987), overruled in part on other
          grounds by Miller, 538 U.S. 329).
                                       III
              UBH argues that Plaintiffs lacked Article III standing to
          bring their claims because: (1) Plaintiffs did not suffer
          concrete injuries; and (2) Plaintiffs did not show proof of
          benefits denied, and so they cannot show any damages
          traceable to UBH’s Guidelines. We disagree. We review de
          novo the district court’s determination that Plaintiffs have
          Article III standing. See Spinedex Physical Therapy USA
          Inc. v. United Healthcare of Ariz., Inc., 770 F.3d 1282, 1288
          (9th Cir. 2014).
              To establish standing under Article III, “a plaintiff must
          show (i) that he suffered an injury in fact that is concrete,
          particularized, and actual or imminent; (ii) that the injury
          was likely caused by the defendant; and (iii) that the injury
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          would likely be redressed by judicial relief.” TransUnion
          LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021) (citing Lujan
          v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992)). “If ‘the
          plaintiff does not claim to have suffered an injury that the
          defendant caused and the court can remedy, there is no case
          or controversy for the federal court to resolve.’” Id. (quoting
          Casillas v. Madison Ave. Assocs., Inc., 926 F.3d 329, 333
          (7th Cir. 2019)).
              To determine whether a statutory violation caused a
          concrete injury, we ask: “(1) whether the statutory
          provisions at issue were established to protect [the
          plaintiff’s] concrete interests (as opposed to purely
          procedural rights), and if so, (2) whether the specific
          procedural violations alleged in this case actually harm, or
          present a material risk of harm to, such interests.” Patel v.
          Facebook, Inc., 932 F.3d 1264, 1270–71 (9th Cir. 2019)
          (alteration in original) (quoting Robins v. Spokeo, Inc., 867
          F.3d 1108, 1113 (9th Cir. 2017)).
                                         A
              We find Plaintiffs sufficiently alleged a concrete injury
          as to their fiduciary duty claim. ERISA’s core function is to
          “protect contractually defined benefits,” US Airways, Inc. v.
          McCutchen, 569 U.S. 88, 100 (2013) (quoting Mass. Mut.
          Life Ins. Co. v. Russell, 473 U.S. 134, 148 (1985)), and
          UBH’s alleged fiduciary violation presents a material risk of
          harm to Plaintiffs’ interest in their contractual benefits, see
          Ziegler v. Conn. Gen. Life Ins. Co., 916 F.2d 548, 551 (9th
          Cir. 1990) (“Congress intended to make fiduciaries culpable
          for certain ERISA violations even in the absence of actual
          injury to a plan or participant.”). Under the fiduciary duties
          section of ERISA, a fiduciary has a duty to administer plans
          “solely in the interest of the participants and beneficiaries . .
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          . with . . . care, skill, prudence, and diligence,” and “in
          accordance with the documents and instruments governing
          the plan.” 29 U.S.C. § 1104(a). Plaintiffs alleged that UBH
          administered their Plans in UBH’s financial self-interest and
          in conflict with Plan terms. This presents a material risk of
          harm to Plaintiffs’ ERISA-defined right to have their
          contractual benefits interpreted and administered in their
          best interest and in accordance with their Plan terms. Their
          alleged harm further includes the risk that their claims will
          be administered under a set of Guidelines that impermissibly
          narrows the scope of their benefits and also includes the
          present harm of not knowing the scope of the coverage their
          Plans provide. The latter implicates Plaintiffs’ ability to
          make informed decisions about the need to purchase
          alternative coverage and the ability to know whether they are
          paying for unnecessary coverage.
              We also find Plaintiffs alleged a concrete injury as to the
          denial of benefits claim. As explained, ERISA protects
          contractually defined benefits, see McCutchen, 569 U.S. at
          100. Plaintiffs alleged a harm—the arbitrary and capricious
          adjudication of benefits claims—that presents a material risk
          to their interest in fair adjudication of their entitlement to
          their contractual benefits.       Plaintiffs need not have
          demonstrated that they were, or will be, entitled to benefits
          to allege a concrete injury. See CIGNA Corp. v. Amara, 563
          U.S. 421, 424–25 (2011); cf. Ne. Fla. Chapter of Associated
          Gen. Contractors of Am. v. City of Jacksonville, 508 U.S.
          656, 666 (1993) (“When the government erects a barrier that
          makes it more difficult for” someone “to obtain a benefit” a
          plaintiff challenging “the barrier need not allege that he
          would have obtained the benefit but for the barrier in order
          to establish standing”).
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                                         B
              We also find that Plaintiffs alleged a particularized injury
          as to both claims. “For an injury to be ‘particularized,’ it
          ‘must affect the plaintiff in a personal and individual way.’”
          Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016) (citation
          omitted), as revised (May 24, 2016). Plaintiffs’ alleged
          injuries are particularized because the Guidelines are applied
          to the contractual benefits afforded to each individual class
          member. The fact that Plaintiffs did not ask the court to
          determine whether they were individually entitled to benefits
          does not change the fact that the Guidelines materially
          affected each Plaintiff. Cf. Thole v. U.S. Bank N.A., 140 S.
          Ct. 1615 (2020) (holding no injury where alleged ERISA
          violations had no effect on plaintiffs’ defined benefit plan).
              Finally, Plaintiffs’ alleged injuries are “fairly traceable”
          to UBH’s conduct. An injury is “fairly traceable” where
          there is a causal connection between the injury and the
          defendant’s challenged conduct. Lujan, 504 U.S. at 560.
          Plaintiffs’ alleged injuries are fairly traceable to UBH’s
          conduct because their interest in the proper interpretation of
          their contractual benefits, inability to know the scope of
          coverage under their Plans, and denial of coverage requests,
          are all connected to UBH’s alleged conduct of improperly
          developing Guidelines in its own self-interest and using
          those improper Guidelines in denying Plaintiffs’ coverage
          requests.
                                        IV
              UBH also appeals from the district court’s class
          certification order. The district court’s class certification
          decision is reviewed for an abuse of discretion. Pulaski &
          Middleman, LLC v. Google, Inc., 802 F.3d 979, 984 (9th Cir.
          2015). A district court abuses its discretion when its ruling
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          is based “on an erroneous view of the law.” Id. (citation
          omitted).     We review de novo the district court’s
          interpretation of ERISA. See Shaver v. Operating Eng’rs
          Loc. 428 Pension Tr. Fund, 332 F.3d 1198, 1201 (9th Cir.
          2003). UBH argues that the district court erred in certifying
          the three classes based on Plaintiffs’ “novel reprocessing
          theory” because Rule 23 of the Rules of Civil Procedure and
          the Rules Enabling Act, 28 U.S.C. § 2072(b), forbid using
          the class action procedure to expand or modify substantive
          rights. As to Plaintiffs’ denial of benefits claim, we agree. 4
              “[T]he Rules Enabling Act forbids interpreting Rule 23
          to ‘abridge, enlarge or modify any substantive right.’” Wal-
          Mart Stores, Inc. v. Dukes, 564 U.S. 338, 367 (2011)
          (quoting 28 U.S.C. § 2072(b)). We must therefore begin
          with the ERISA statute to determine Plaintiffs’ substantive
          rights.
              As discussed above, the purpose of ERISA is to “provide
          a uniform regulatory regime over employee benefit plans.”
          Aetna Health, 542 U.S. at 208. Accordingly, 29 U.S.C. §
          1132(a) “set[s] forth a comprehensive civil enforcement
          scheme” for accomplishing the overall purposes of ERISA.
          Id. (quoting Dedeaux, 481 U.S. at 54). Two provisions are
          particularly relevant: § 1132(a)(1)(B) and § 1132(a)(3).
          Under § 1132(a)(1)(B), “[i]f a participant or beneficiary

          4
             UBH’s Rule 23 argument in its Opening Brief disputed class
          certification only on the grounds that Plaintiffs facially challenged the
          Guidelines and have asserted a “novel reprocessing theory” to advance
          their denial of benefits claim on a class-wide basis. This argument does
          not implicate a Rules Enabling Act issue as to the fiduciary duty claim.
          Thus, we deem any challenge to certification of the breach of fiduciary
          duty claim forfeited, and our analysis leaves class certification as to that
          claim intact.
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          believes that benefits promised to him under the terms of the
          plan are not provided, he can bring suit seeking provision of
          those benefits. A participant or beneficiary can also bring
          suit generically to ‘enforce his rights’ under the plan, or to
          clarify any of his rights to future benefits.” Id. at 210
          (quoting 29 U.S.C. § 1132(a)(1)(B)). Because the remedy
          provided under § 1132(a)(1)(B) is to recover benefits or to
          enforce or clarify rights under the plan, a remand to the
          administrator for reevaluation is a means to the ultimate
          remedy. See Vizcaino v. Microsoft Corp., 120 F.3d 1006,
          1008, 1013–15 (9th Cir. 1997) (remanding for reevaluation
          of plaintiffs’ rights under plan pursuant to § 1132(a)(1)(B)’s
          right to enforce the plan terms, where plaintiffs “sought a
          determination that they were entitled to participate in the
          plan benefits”); see also Saffle v. Sierra Pac. Power Co.
          Bargaining Unit Long Term Disability Income Plan, 85 F.3d
          455, 458, 460–61 (9th Cir. 1996) (remanding for
          reevaluation to determine whether plaintiff was entitled to
          benefits under § 1132(a)(1)(B) where plaintiff filed suit for
          benefits due); Patterson v. Hughes Aircraft Co., 11 F.3d 948,
          949–51 (9th Cir. 1993) (similar). A plaintiff asserting a
          claim for denial of benefits must therefore show that she may
          be entitled to a positive benefits determination if outstanding
          factual determinations were resolved in her favor. See, e.g.,
          Saffle, 85 F.3d at 460–61; Patterson, 11 F.3d at 951. Here,
          there are numerous individualized questions involved in
          determining Plaintiffs’ entitlement to benefits given the
          varying Guidelines that apply to their claims and their
          individual medical circumstances.             To avoid the
          individualized inquiry involved in assessing whether
          Plaintiffs may be entitled to benefits under the Plan terms,
          Plaintiffs framed their denial-of-benefits claims as seeking a
          procedural remedy only.
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              Simply put, reprocessing is not truly the remedy that
          Plaintiffs seek, it is the means to the remedy that they seek.
          But Plaintiffs expressly disclaimed the actual remedy
          available to them and narrowed their theory of liability under
          § 1132(a)(1)(B) in an attempt to satisfy Rule 23’s
          commonality requirement.
              Yet here, the district court found that “reprocessing”
          itself was an appropriate class-wide remedy for Plaintiffs’
          denial of benefits claim under § 1132(a)(1)(B). The district
          court abused its discretion in accepting the erroneous legal
          view that reprocessing is itself a remedy under
          § 1132(a)(1)(B) independent from the express statutory
          remedies that Congress created, justifying class treatment.
          See Russell, 473 U.S. at 146 (“The . . . carefully integrated
          civil enforcement provisions found in § 502(a) of the statute
          as finally enacted, however, provide strong evidence that
          Congress did not intend to authorize other remedies that it
          simply forgot to incorporate expressly.”). Doing so
          improperly allowed Plaintiffs to use Rule 23 as a vehicle for
          enlarging or modifying their substantive rights where
          ERISA does not provide reprocessing as a standalone
          remedy. See Dukes, 564 U.S. at 367.
              The district court found that the reprocessing remedy
          could alternatively fall under § 1132(a)(3). This also was an
          abuse of discretion. Section 1132(a)(3) is a “catchall”
          provision to offer appropriate equitable relief for injuries that
          § 1132 does not otherwise remedy. Varity, 516 U.S. at 511–
          12, 515; see also Moyle v. Liberty Mut. Ret. Benefit Plan,
          823 F.3d 948, 959 (9th Cir. 2016), as amended on denial of
          reh’g and reh’g en banc (Aug. 18, 2016). Where the alleged
          injury is improper denial of benefits, “a claimant may not
          bring a claim for denial of benefits under § 1132(a)(3) when
          a claim under § 1132(a)(1)(B) will afford adequate relief.”
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          Castillo v. Metro. Life Ins. Co., 970 F.3d 1224, 1229 (9th
          Cir. 2020). The issue here is that Plaintiffs have expressly
          disclaimed a remedy under § 1132(a)(1)(B) by declining to
          show that reprocessing might allow any plaintiff or class
          member to recover benefits. But as discussed above,
          Plaintiffs cannot modify their ERISA rights to obtain the
          benefits of proceeding as a class action under Rule 23. See
          Dukes, 564 U.S. at 367.
              Further, “[a]n individual bringing a claim under §
          1132(a)(3) may seek ‘appropriate equitable relief,’ which
          refers to ‘those categories of relief that, traditionally
          speaking (i.e., prior to the merger of law and equity) were
          typically available in equity.’” Castillo, 970 F.3d at 1229
          (quoting CIGNA Corp. v. Amara, 563 U.S. 421, 439 (2011)).
          Plaintiffs and the district court did not explain or refer to
          precedent showing how a “reprocessing” remedy constitutes
          relief that was typically available in equity. Consequently,
          the district court erred in concluding that “reprocessing” was
          an available remedy under 29 U.S.C. § 1132(a)(3).
              The district court abused its discretion in certifying
          Plaintiffs’ denial of benefits claims as class actions.
          Therefore, we reverse this part of the district court’s class
          certification order.
                                        V
              Turning to the merits of Plaintiffs’ claims, UBH
          challenges the district court’s final judgment, arguing that
          the district court erred in concluding that the UBH
          Guidelines improperly deviated from GASC, and the district
          court did not apply an appropriate level of deference to
          UBH’s interpretation of the Plans. As an initial matter, UBH
          did not appeal the portions of the district court’s judgment
          finding the Guidelines were impermissibly inconsistent with
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          state-mandated criteria. This portion of the district court’s
          decision therefore remains intact.
              As discussed above, ERISA does not “mandate what
          kind of benefits employers must provide.” Black & Decker
          Disability Plan v. Nord, 538 U.S. 822, 833 (2003) (quoting
          Lockheed, 517 U.S. at 887). ERISA “focus[es] on the
          written terms of the plan” which “in short, [are] at the center
          of ERISA.” Heimeshoff v. Hartford Life & Accident Ins.
          Co., 571 U.S. 99, 108 (2013). The question then is not
          whether ERISA mandates consistency with GASC—it does
          not—but whether UBH properly administered the Plans
          pursuant to the Plan terms. See id.
              “Where the benefit plan gives the administrator or
          fiduciary discretionary authority to determine eligibility for
          benefits or to construe the terms of the plan, we ordinarily
          review the plan administrator’s decisions for an abuse of
          discretion.” Schikore v. BankAmerica Suppl. Ret. Plan, 269
          F.3d 956, 960 (9th Cir. 2001); see also Firestone Tire &
          Rubber Co. v. Bruch, 489 U.S. 101, 115 (1989). The
          administrator’s interpretation is an abuse of discretion if the
          interpretation is unreasonable. Moyle, 823 F.3d at 958.
          Where the administrator or fiduciary has a conflict of
          interest, review of its interpretation will be “informed by the
          nature, extent, and effect on the decision-making process” of
          such conflict. Abatie v. Alta Health & Life Ins. Co., 458 F.3d
          955, 967 (9th Cir. 2006). “We review de novo a district
          court’s choice and application of the standard of review to
          decisions by fiduciaries in ERISA cases.” Williby v. Aetna
          Life Ins. Co., 867 F.3d 1129, 1133 (9th Cir. 2017) (quoting
          Estate of Barton v. ADT Sec. Servs. Pension Plan, 820 F.3d
          1060, 1065 (9th Cir. 2016)). We review findings of fact for
          clear error. Abatie, 458 F.3d at 962.
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              It is undisputed that the Plans in this case confer UBH
          with discretionary authority to interpret the Plan terms. The
          parties stipulated, and the district court found as a matter of
          fact, that this includes the discretion to create interpretive
          tools, such as the Guidelines. This finding was not clearly
          erroneous. Accordingly, UBH’s interpretation of the Plans
          via its Guidelines is reviewed for an abuse of discretion.
          Schikore, 269 F.3d at 960. And the district court correctly
          identified this standard of review.
              But the district court also found that UBH had a
          significant conflict of interest and therefore gave little
          weight to UBH’s interpretation of the Plans. Where an
          administrator has a dual role as plan administrator and plan
          insurer, there is a structural conflict of interest. See Stephan
          v. Unum Life Ins. Co. of Am., 697 F.3d 917, 929 (9th Cir.
          2012). UBH served such a dual role as Plan administrator
          and insurer (authorized to determine the benefits owed and
          responsible for paying such benefits) for at least some of the
          Plans. The district court found, in addition to this structural
          conflict of interest, that UBH also had a financial conflict
          because it was incentivized to keep benefit expenses down.
          Again, the district court’s factual findings are not clearly
          erroneous.
               However, the district court’s findings did not excuse it
          from applying the abuse of discretion standard. “Abuse of
          discretion review applies to a discretion-granting plan even
          if the administrator has a conflict of interest.” Abatie., 458
          F.3d at 965 (emphasis added). The conflict is weighed as a
          factor in determining whether the administrator abused its
          discretion. Stephan, 697 F.3d at 929; see also Metro. Life
          Ins. Co. v. Glenn, 554 U.S. 105, 115–17 (2008). The district
          court purported to apply an abuse of discretion standard
          tempered by high skepticism of UBH’s interpretation given
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          UBH’s conflict of interest. But even with such a tempered
          abuse of discretion standard, we cannot agree that UBH
          abused its discretion on the facts of this case.
               Even assuming the conflicts of interest found by the
          district court warrant heavy skepticism against UBH’s
          interpretation, UBH’s interpretation does not conflict with
          the plain language of the Plans. To the contrary, it gives
          effect to all the Plan provisions. The Plans exclude coverage
          for treatment inconsistent with GASC or otherwise condition
          treatment on consistency with GASC. While the GASC
          precondition mandates that a treatment be consistent with
          GASC as a starting point, it does not compel UBH to cover
          all treatment that is consistent with GASC. Nor does the
          exclusion—or any other provision in the Plans—require
          UBH to develop Guidelines that mirror GASC. And while
          treatment consistent with GASC is a precondition to
          coverage, there are other Plan provisions that still exclude
          certain treatments even if they are consistent with GASC.
          Thus, if UBH had interpreted the GASC exclusion to
          mandate coverage for and consistency with GASC, these
          other exclusions would be rendered nugatory.
              The district court disagreed. Although it acknowledged
          some treatment consistent with GASC may be excluded
          under the Plans, it ultimately ruled that UBH abused its
          discretion because the Guidelines did not require coverage
          for all care consistent with GASC. The district court’s
          substitution of its interpretation of the Plans for UBH’s
          interpretation that is consistent with the language of the
          Plans was erroneous.
             We reverse the district court’s judgment that UBH
          wrongfully denied benefits to the named Plaintiffs based
          upon the court’s finding that the Guidelines impermissibly
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          deviate from GASC. The district court’s judgment on
          Plaintiffs’ breach of fiduciary duty claim also relied heavily
          on its conclusion that the Guidelines impermissibly deviated
          from GASC. 5 This also was error.
                                            VI
              Finally, UBH contends that the district court erred when
          it excused unnamed class members from demonstrating
          compliance with the Plans’ administrative exhaustion
          requirement. We agree.
             We review the applicability of exhaustion principles de
          novo. See Barboza v. Cal. Ass’n of Pro. Firefighters, 651
          F.3d 1073, 1076 (9th Cir. 2011). “ERISA itself does not
          require a participant or beneficiary to exhaust administrative
          remedies in order to bring an action under § 502 of ERISA,
          29 U.S.C. § 1132.” Bilyeu v. Morgan Stanley Long Term
          Disability Plan, 683 F.3d 1083, 1088 (9th Cir. 2012)
          (quoting Vaught v. Scottsdale Healthcare Corp. Health
          Plan, 546 F.3d 620, 626 (9th Cir. 2008)). Instead, ERISA
          mandates an opportunity for administrative review, see 29
          U.S.C. § 1133(2), and we have treated completion of this
          administrative review as a prudential exhaustion
          requirement. Castillo, 970 F.3d at 1228. We have also
          consistently recognized three exceptions to the prudential
          exhaustion requirement: futility, inadequate remedy, and
          unreasonable claims procedures. See Vaught, 546 F.3d at

          5
            This was not the only finding relevant to the district court’s judgment
          on the breach of fiduciary duties claim. The district court also found,
          among other things, that financial incentives infected UBH’s Guideline
          development process and that UBH developed the Guidelines with a
          view toward its own interests. Our decision does not disturb these
          findings to the extent they were not intertwined with an incorrect
          interpretation of the Guidelines as inconsistent with the Plan terms.
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          626–27. Plaintiffs have not shown that we have extended
          these exceptions to a contractual exhaustion requirement,
          and even if we were inclined to do so, here it is uncontested
          that some beneficiaries successfully appealed the denial of
          their benefit claims, so these exceptions are not satisfied.
               The Supreme Court has explained that “[t]he plan, in
          short, is at the center of ERISA,” and accordingly, “[t]his
          focus on the written terms of the plan is the linchpin of ‘a
          system that is [not] so complex that administrative costs, or
          litigation expenses, unduly discourage employers from
          offering [ERISA] plans in the first place.’” Heimeshoff, 571
          U.S. at 108 (third and fourth alterations in original) (first
          quoting McCutchen, 569 U.S. at 101; and then quoting
          Varity, 516 U.S. at 497). While Congress, in enacting
          ERISA, “empowered the courts to develop, in . . . light of
          reason and experience, a body of federal common law
          governing employee benefit plans,” Menhorn v. Firestone
          Tire & Rubber Co., 738 F.2d 1496, 1499 (9th Cir. 1984),
          federal common law doctrines cannot alter or override clear
          and unambiguous plan terms, see Cinelli v. Security Pacific
          Corp., 61 F.3d 1437, 1444 (9th Cir. 1995).
              When an ERISA plan does not merely provide for
          administrative review but, as here, explicitly mandates
          exhaustion of such procedures before bringing suit in federal
          court and, importantly, provides no exceptions, application
          of judicially created exhaustion exceptions would conflict
          with the written terms of the plan. Cf. Greany v. W. Farm
          Bureau Life Ins. Co., 973 F.2d 812, 822 (9th Cir. 1992)
          (“Because the plan was unambiguous, the Greanys cannot
          avail themselves of the federal common law claim of
          equitable estoppel.”).
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              This outcome is consistent with the Rules Enabling Act.
          Exhaustion is a contractual limitation that impacts the
          availability of remedies. In this case, by excusing all absent
          class members’ failure to exhaust, the district court abridged
          UBH’s affirmative defense of failure to exhaust and
          expanded many absent class members’ right to seek judicial
          remedies under Rule 23(b)(3). Cf. Dukes, 564 U.S. at 367
          (“[A] class cannot be certified on the premise that [the
          defendant] will not be entitled to litigate its statutory
          defenses to individual claims.”). Accordingly, to the extent
          any absent class members’ plans required exhaustion, the
          district court erred in excusing the failure to satisfy such a
          contractual requirement. On this basis, we reverse.
                                        VII
              In sum, Plaintiffs have Article III standing to bring their
          breach of fiduciary duty and improper denial of benefits
          claims pursuant to 29 U.S.C. §§ 112(a)(1)(B) and (a)(3).
          And the district court did not err in certifying three classes
          to pursue the fiduciary duty claim. However, because
          Plaintiffs expressly declined to make any showing, or seek a
          determination of, their entitlement to benefits, permitting
          Plaintiffs to proceed with their denial of benefits claim under
          the guise of a “reprocessing” remedy on a class-wide basis
          violated the Rules Enabling Act. Accordingly, we affirm in
          part and reverse in part the district court’s class certification
          order.
              On the merits, the district court erred in excusing absent
          class members’ failure to exhaust administrative remedies as
          required under the Plans. The district court also erred in
          determining that the Guidelines improperly deviate from
          GASC based on its interpretation that the Plans mandate
          coverage that is coextensive with GASC. Therefore, the
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          judgment on Plaintiffs’ denial of benefits claim is reversed,
          and to the extent the judgment on Plaintiffs’ breach of
          fiduciary duty claim is based on the district court’s erroneous
          interpretation of the Plans, it is also reversed.
              AFFIRMED in part, REVERSED in part, and
          REMANDED FOR FURTHER PROCEEDINGS. Each
          party to bear its own costs.
